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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 9:19-cv-81160

   APPLE INC.,

                      Plaintiff,

           v.

   CORELLIUM, LLC,

                      Defendant.


                PROPOSED ORDER GRANTING MOTION TO FILE UNDER SEAL

          THIS CAUSE comes before the Court on Plaintiff Apple Inc.’s Disputed Motion to File

   Under Seal Certain Specified Portions of Apple’s Opposition to Defendant Corellium, LLC’s

   Motion for Summary Judgment, Certain Specified Portions of Apple Inc.’s Response to Defendant

   Corellium, LLC’s Statement of Material Facts in Support of Corellium’s Motion for Summary

   Judgment, and Plaintiff’s Exhibit 84 (“Motion”). Being fully advised in the premises and noting

   that Defendant Corellium, LLC and the United States do not oppose the relief sought, it is

          ORDERED AND ADJUDGED that the Motion is hereby GRANTED. Apple is given

   leave to file under seal (1) the last half of the last sentence of the third paragraph on page 1 and

   the first three and a half sentences of the final paragraph on page 5 of Apple Inc.’s Opposition to

   Defendant Corellium, LLC’s Motion for Summary Judgment; (2) paragraphs 41 and 81–83 of

   Apple Inc.’s Response to Defendant Corellium, LLC’s Statement of Material Facts in Support of

   Corellium’s Motion for Summary Judgment; and (3) Plaintiff’s Exhibit 84. The sealed materials

   shall remain under seal until further Court order.
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        DONE AND ORDERED this __ of May, 2020, in Fort Lauderdale, Florida.

                                        _________________________________
                                        RODNEY SMITH
                                        UNITED STATES DISTRICT JUDGE
